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AO 450 (Rev. 5/85) Judgment in a Civil Case r


                         UNITED STATES DISTRICT COURT

                               *****            DISTRICT OF   NEVADA

DENISE ABBEY, individually, and as
special administrator of the ESTATE OF
MICAH ABBEY,

                 Plaintiff,                       JUDGMENT IN A CIVIL CASE
        V.
                                                  CASE NUMBER: 3:13-cv-00347-LRH-VPC
CITY OF RENO; et al.,

                 Defendants.


        Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
        and the jury has rendered its verdict.

        Decision by Court. This action came to trial or hearing before the Court. The issues have been
        tried or heard and a decision has been rendered.

 X      Decision by Court. This action came to be considered before the Court. The issues have been
        considered and a decision has been rendered.

        IT IS ORDERED AND ADJUDGED that defendants’ motion for summary judgment based on
qualified immunity (#71) is GRANTED. Judgment is hereby entered in favor of defendants the City of
Reno, Reno Police Department, Officer Keith Pleich, Officer Daniel Bond, and Officer Scott Rasmussen,
and against plaintiff Denise Abbey.


          MARCH 31, 2015                                      LANCE S. WILSON
                                                                  Clerk


                                                              /s/ D. R. Morgan
                                                                    Deputy Clerk
